         Case 1:19-mj-07169-JCB Document 8 Filed 06/14/19 Page 1 of 26
 Exhibit A




                  AFFIDAVIT OF GREGORY SOTJIRE IN SUPPORT OF
                    AN APPLICATION FOR A SEARCH WABRANT

       I, Gregory Squire,having been first duly sworn, do hereby depose and state as follows:

                                      INTRODUCTION


1. I am a Special Agent with the Department of Homeland Security, Immigration and Customs

   Enforcement ("ICE"), assignedto the office ofthe Special Agent in Charge,Boston, MA, and

   have been employed as a Special Agent since 2007. As part of my daily duties as a Special

   Agent for ICE, I investigate criminal violations relating to child exploitation and child

   pomography, including violations pertaining to the distribution, transportation, receipt and

   possession of child pomography in violation of 18 U.S.C. § 2252A. I have received training

   in the investigation of child pomography and child exploitation, and have had the opportunity

   to observe and review numerous examples of child pomography (as that term is defined by 18

   U.S.C. § 2256) in all forms of media including computer media.

2. This Affidavit is submitted in support of an application under Rule 41 ofthe Federal Rules of

   Criminal Procedure to search the residence located at 20 Adams Street, 2^° Floor, Danvers,

   Massachusetts (the "SUBJECT PREMISES"), the vehicle registered to Joseph CORBETT at

   that address (the "SUBJECT VEHICLE"), and the person of Joseph CORBETT (YOB 1968),

   as more fully described in Attachment A, which is incorporated herein by reference.
                                                                          I



3. As described herein, there is probable cause to believe that the SUBJECT PREMISES, the

   SUBJECT VEHICLE, and the person of Joseph CORBETT contain contraband and evidence,

   fruits, and instrumentalities of violations of 18 U.S.C. § 2252A, which items are more

   specifically described in Attachment B, which is also incorporated herein by reference.
        Case 1:19-mj-07169-JCB Document 8 Filed 06/14/19 Page 2 of 26
Exhibit A




4. The statements in this Affidavit are based in part on information provided by other law
   enforcement officers and on my investigation of this matter. Since this Affidavit is being
   submitted for the limited purpose ofsecuring search warrants, I have not included each and
   every fact known to me concerning this investigation. I have set forth only the facts that I
   believe are necessary to establish probable cause to believe that contraband and evidence,
   fruits, and instrumentalities of violations of 18 U.S.C. § 2252A (possession, receipt, and
   distribution ofchild pornography) are presently located at the SUBJECT PREMISES, within
   the SUBJECT VEHICLE, and on the person of Joseph CORBETT.

                         BACKGROUND ON KIK AND KIK REPORTS

5. Kik Messenger (hereinafter "Kile") is amobile appHcation designed for chatting or messaging
   owned and operated by Kik Interactive, Inc. According to the publicly available document
   "Kik's Guide for Law Enforcement,"^ to use this application, auser downloads the application
   to amobile phone, computer, or other digital device via a service such as the iOS App Store,
   Google Play Store, Apple iTunes, or another similar provider. Once the application is
   downloaded and installed, the user is prompted to create an account and usemame. The user
   also creates adisplay name, which is aname that other users see when transmitting messages
   back and forth. Once the user has created anaccount, the user is able to locate other users via
    asearch feature. While messaging, users can then send each other text messages, images, and
    videos.




   Available at: https://lawenforcement.kik.eom/hc/en-us/categories/200320809-Guide-for-Law-
   Enforcement.
        Case 1:19-mj-07169-JCB Document 8 Filed 06/14/19 Page 3 of 26

Exhibit A




6. Accordingto "Kik's Guidefor LawEnforcement," Kilcusers are also ableto create chat groups
   with alimited number of individuals to communicate in agroup setting and exchange text
   messages, images and videos. These groups are administered bythe group creator who has the
   authorityto remove and banother users fi:om the created group. Once the group is created, Kik
   users have the option of sharing alink to the group that includes all of their contacts or any
   olher user. These groups are frequently created with agroup name containing ahashtag (#)
   that is easily identifiable or searchable by keyword.
7. According to information provided to HSI by aKik Law Enforcement Response Team Lead,
    Kik's Terms of Service prohibit Kik users from uploading, posting, sending, commenting on,
    or storing content that contains child pornography and/or child abuse unages. The Terms of
    Sei-vice also provide that Kik may review, screen, and delete user content at any time if Kik
    believes use of then services is in violation of the law. According to Kik, Kik has astrong
    business interest in enforcing their Terms of Service and ensuring that their services are free
    ofillegal content, and in particular, child sexual abuse material. Accordingly, Kik reports that
    it independently and voluntarily takes steps to monitor and safeguard their platform and that
    ridding Kik products and services of child abuse images is critically important to protecting
    their users^ product, brand, and business interests.
 8. Kik is located in Ontario, Canada and is governed by Canadianlaw. Accordmg to information
    contained in the "Kik Interactive, Inc. Child Sexual Abuse and Illegal Material Report and
     Glossary" (hereinafter Kile Glossary), which Kik provides when reporting information to law
     enforcement authorities, Kik is mandated to report to the Royal Canadian Mounted Pohce
     (RCMP) any images and/or videos that would constitute suspected child pornography under
        Case 1:19-mj-07169-JCB Document 8 Filed 06/14/19 Page 4 of 26

Exhibit A




   Canadiaa law that are discovered on the Kik platform. According to the Kik Glossary, Kik is
   typically alerted to suspected child pornography on Kik based on digital hash value matches
   to previously identified child pornography or through reports firom other Kik users or third-
   partymoderators.

9. The RCMP has advised Homeland Security Investigations (HSI) agents that upon receivuig a
   report from Kik related to suspected child pornography, the RCMP reviews the reported IP
   addresses ofthe Kikusers contained inthe KikReports to determinetheir location. The RCMP
   then provides Kik Reports ofKilt users in the United States to HSI in Ottawa. Canada, who in
   turn provides the Kik Reports to the HSI Cyber Crimes Center (03) Child Exploitation
    Investigations Unit (CEIU) located ia Fairfax, Virginia for analysis and dissemination.
                               STATEMENT OF PROBABLE CAUSE

10. IhavereviewedalCikReport dated SeptemberlV,2018. Areview ofthe Kik Report shows
    that between November 15, 2016 and September 17, 2018, aKik user named
    who provided the name Joe CORBETT, email address fatheroftwobeautiMgirls@gmail.com,
    year of birth 1968, and an Apple iPhone, used Kik to send avideo of child pornography as
    described below.

 11.1 have learned that Kik was alerted to the child pornography through an Abuse Report.
    According to the Kik Glossary, Kik usei-s can report illegal activity on Kik via email to Kik.
    If any ofthese iucideuts are found to involve childexploitation, they are transfeiiedto the Kile
     Law Enforcement team in a"Abuse Report" which is forwarded to the RCMP. According to
     infomiation provided by aKik Law Enforcement Response Team Lead, ail suspected child
     pornography images and videos reported via an Abuse Report, as well as any related user
        Case 1:19-mj-07169-JCB Document 8 Filed 06/14/19 Page 5 of 26

Exhibit A




  commmucations. arc visually reviewed by aKik employee before areport is voluntarily sent
  to law eufoieemeut aufliorities. Kik trains employees eomprising its Law Enforcement
   Response team on the legal obligation to report apparent child pornography. The Team is
   trained on the Canadian statutory definition of child pornography and how to recognize it on
   Kik products and services. Kik voluntarily makes reports to law enforcement in accordance
   with that training. After Kik discovered the suspected child pornography. Kik removed the
   content ftom its commnnications system and closed the user's account.
12. Along with Kik's Report, Kik provided copies ofthe suspected child pornographyvideo that
    theylocatedto theROMP. Onor aboutFebruary 13,2019,1reviewedthe verysame video that
    Kik hadprovidedwith the KikReport sentto theROMP andforwardedto HSl. Thatvideo had
     previously been located, isolated, searched, and viewed by ICik personnel before it was
    reported to the ROMP, Ireviewed onlythe video previously located, isolated, searched, and
    viewed by Kik personnel and observed that the video Is child pomography as defined by
    Federal Law. Specifically, the video, posted by Kik user                August 7,2018 at
    02:28:40 UTC to other Kik users onapublic group within Kik, is 58 seconds long and dep'
    aprepubescent female who is approximately 9years old exposing her vagina and putting her
    finger on her vagina.

 13. The information provided by Kik included IP addresses^ associated with access to the subject
     Kik user account. Specifically, IP address 174.199.1.208 was used by                     ™
       Case 1:19-mj-07169-JCB Document 8 Filed 06/14/19 Page 6 of 26

Exhibit A




   August 7,2018 to sendthe childpornographyvideo described above. In addition, IP addresses
   174.199.22.118, 174.199.22.177 and 108.7.179.82 were used to access the Kik user account
   during the same monththat|HBM^^^'childpornographyvideo described above.
14. Aquery ofthe American Registry for Internet Numbers ("ARIN") online database revealed
   that all of the identified IP addresses were registered to Verizon Wireless. On January 28,
   2019, administrative summonses were issued to Verizon for information relating to the IP
    addresses described above. The responses to the administrative subpoenas, obtained on
   January 30, 2019, identified the account holder                        an account address of
   20 Adams Street, Danvers, Massachusetts. Based on the investigation, Ibelieve thatH
   ^m|is Joseph CORBETT's mother-in-law.
15. Asearch ofapublic records database that provides names, dates ofbirth, addresses, associates,
    telephone numbers, email addresses, and other information was conducted for Joseph
    CORBETT. These public records indicate that CORBETT's current address is 20 Adams
    Street in Danvers, Massachusetts.

 16. Acheck with the Registry of Motor Vehicles on or about February 7, 2019 revealed that an
     individual named Joseph Michael CORBETT with ayeai- ofbirth of 1968 resides at 20 Adams



                                  Service Providers ("ISPs") confi-ol arange of IP addresses. IP
    addresses can be "dynamic," meaning that the ISP assies a
    computer or device every time it accesses the Internet. IP addresses might also be static, it
    an ISP assigns auser's computer aparticular ff addi-ess that is used each tune the computei
    accesses the Internet. ISPs typically maintain logs ofthe subscribers to whom IP addresses aie
    assigned on particular dates and times.
          Case 1:19-mj-07169-JCB Document 8 Filed 06/14/19 Page 7 of 26

Exhibit A




   street, Dartyers. MA and has a2017 Chevy MaUbu, Maasachusetts registration 9RV 218,
   registered to him at that address (the SUBJECT VEHICLE).
17. Snrveillanee on or about Match 12,2019 revealed that 20 Adams Street. Danvers is amulti-
    family residence vdth the number '^O" on apiHai- toward the top of aftont staircase. There
    are two blackmailboxes located on the piUais toward the top ofthe ftont staircase. The name
    "CORBETT' and "2d Floor" is printed on the mailbox. The mailbox for the 1" Floor unit
    bears the last name, Herbert. During surveillance, the SUBJECT VEHICLE was observed
      parked inliie driveway to the right ofthe residence.
18. Acheck ofopen source information ftom the Internet regarding Joseph CORBETT revealed
    that on Facebook. "Joe Corbetf•Uves in Danvers, Massachusetts and has an email address of
      fetherotlwnbeautiti.l»irls@cmail.com.       Queries of "Joseph Corbett" m Danvers,
      Massachusetts in the CLEAR database showed aJoseph M. Corbettwithyear ofbirth of1968
      living at 20 Adams Street, Apt 2, Danvers, Massachnsetts.

  BACKGROUND ON CHILD PORNOGRAPHY, COMPUTERS, AND THE INTERNET
 19.1have hadbothtrainingand experienceinthe investigationofcomputer-relatedcrimes. Based
       onmy training, experience, and knowledge, Iknow the following:
       a. Computers and digital technology are the primary way in which individuals interested m
          child pornography interact with each other. Computers basically serve four functions m
           connectionwith childpomography: production, communication, distribution, andstorage.
 b.        Digital cameras and smartphones with cameras save photogmphs or videos as adigital file
           that can be directly transferred to acomputer by connecting the camera or smartphono to
           the computer, using acable, or via wheless connections such as "WiFi" or -Bluetooth."
           Case 1:19-mj-07169-JCB Document 8 Filed 06/14/19 Page 8 of 26

Exhibit A




          Photos andYideos taken on adigital camera or smarlphone may be stored on aremovable
          memory cardinthe camera or smartphone. These memory cards are oftenlarge enoughto
          store thousands ofhigh-resolution photographs or videos.
c.        Mobile devices such as smartphones and tablet computers may also connect to other
          computers via wireless coimecUons. Electronic contact can be made to UteraUy millions
          ofcomputers around the world. Childpomographycanthereforebeeasily, inexpensively,
          and anonymously(throughelectroniccommunications)produced, distributed, andreoeived
          by anyone with access to acomputer, smartphone, or other mtemet.capable device.
d.        The computer's ability to store images in digital form makes the computer itself an ideal
          repository for duld pornography. Electronic storage media of various types -mcludmg
           computer hard drives, external bard drives, CDs, DVDs, and "thumb," "jump," or "flash"
           drives, which are very small devices that ate plugged into aport on the computer - can
           store thousands of images or videos at very high resolution. It is extremely easy for an
           individual to take aphoto or avideo with adigital camera or camera-bearing smartphone,
           upload that photo or video to acomputer, and then copy it (or any other files on the
           computer) to any one ofthose media storage devices. Some media storage devices can
           easily be concealed and carried on an individual's person. Smartphones are also often
           carried on an individual's person.

     e.    Ths Internet affords individuals several differentvenues for obtaining, viewing, andtrading
            child pornography in arelatively secure and anonymous fashion.
     f.     Individuals also use online resources to retrieve and store child pornography. Some online
            services allowauserto setup anaccountwitharemote computing servicethatmayprovide
        Case 1:19-mj-07169-JCB Document 8 Filed 06/14/19 Page 9 of 26

Exhibit A




      email services and/or elecltomc storage ofcomputer ffles in any variety offormats. Auser
      can set up an online storage account (sometimes referred to as "cloud" storage) ftom any
      computer or smartphonewith access to the IntemeL Byenincases where online storage is
      used, however, evidence of child pomogr^hy can be found on the user's computer,
      smartphone, or external media inmost cases.
      Agrowing phenomenonrelatedto smartphones and other mobUe computingdevices is the
       use of mobile applications, also referred to as "apps." Apps consist of software
       downloaded onto mobUe devices that enable users to perform avariety oftasks - such as
       engaging in online chat, sharing digital files, reading abook, or playing agame - on a
       mobile device. Individuals commonly use such apps to receive, store, distribute, and
       advertise chUd pornography, to interact directly with other like-minded offenders or with
       potential minorvictims, andto access cloud-storageservices where childpomographymay
       be stored

h. VAs is the case with most digital technology, communications by way of computer can be
    saved or stored on Ihe computer used for these purposes. Storing this information can be
    intentional {i.e., by saving an email as afile onthe computer or savingthe locationofone's
    favorite websites in, for example, ' boolanarked" files) or unintentional. Digital
    information, such as the traces of the path of an electronic communication, may also be
        automatically stored in many places (ag., temporary files or ISP client softwar-e, among
        others). In addition to electmnic communications, acomputer user's Internet activities
        generallyleavetraces or"footprints"inthe web cache andhistoryfiles ofthebrowserused.
            Such information is often maintained indefinitely until overwritten by other data.
                Case 1:19-mj-07169-JCB Document 8 Filed 06/14/19 Page 10 of 26

      Exhibit A




           CHARACTERISTICS COMMON TO CONSUMERS OF CHILD PORNOGRAPHY
20.         Based onmy previous investigative experience related to cMld exploitationinvestigations, and
            the training and experience of other law enforcement officers with whom I have had
            discussions, I know there are certain characteristics common to indmduals who produce,
            advertise, transport, distribute, receive, possess, and/or access with intent to view child
            pornography (i.e., "consumers" of child pornography):
      a.        Such iadividuals may receive sexual gratification, stinulation, and satisfaction firom
                contact with children, or firom fantasies they may have viewing children engaged msexual
                activity or in sexually suggestive poses, such as in person, in photographs, or other visual
                media, orfrom literature describing such activity.
      b.        Suchindividuals may collect sexually explicit or suggestive materials in avariety ofmedia,
                including in "hard copy" and electronic format. Individuals who have asexual interest in
                children or images of children oftentimes use these materials for their own sexual arousal
                and gratification. Further, they may use these materials to lower the inhibitions ofchildren
                they are attempting to seduce, to arouse the selected child partner, or to demonstrate the
                deshed sexual acts.

      c.        Such individuals almost always possess and maintain their hard copies of child
                pornographic material in the privacy and security of their home or some other secure
                location. Individuals who have asexual interest in children or images ofchildren and who
                have hard copies of child pornographic material typically retain that material for many
                 years.


       d.        Likewise, such individuals often maintain their digital or electronic child pornography in a
       Case 1:19-mj-07169-JCB Document 8 Filed 06/14/19 Page 11 of 26

Exhibit A




      safe, secure, and private environment, sucli as acomputer and suiTounding area These
      child pornography images are often maintained for several years and are kept close by,
      usually at the possessor's residence, inside the possessor's vehicle, or, at times, on their
       person, or in cloud-based online storage, to enable the individual to view the child
       pornography images, which are valued highly. Some ofthese individuals also have been
       found to download, view, and then delete child pornography on their computers or digital
       devices ona cycHcal and repetitive basis.

e.     Importantly, evidence of such activity, including deleted child pornography, often can be
       located on these individuals' computers and other digital devices through the use of
       forensic tools. Indeed, the very nature of electronic storage means that evidence of the
       crime is often still discoverable for extended periods of time even after the indivrdual
       "deleted" it.^

f.     Such individuals also may correspond with and/or meet others to share information and
       materials, often retain correspondence from other child pornography
       distributors/possessors, conceal such correspondence as Ihey do their sexually explicit
       material, and oftenmaintain contactinformationfor individuals with whomthey have been
       incontact and who share the same interests inchild pornography.
g.      Such individuals prefer not to be without their child pornography for any prolonged time


 3See UnitedStates v. Carroll, 750 F.3d 700,706 (7th Cir. 2014) (concluding &at 5-ye^elay
 was not too long because "staleness inquny must be grounded man mderstmdmg ofboth &e
 behavior ofchild pornography collectors and ofmodem technology ); see also UnitedStates .
 Seiver, 692 F.3d 774 (7th Cfr. 2012) (Posner, J.) (coUectrng cases, e.g.,
 625 F.3d 830 843 (5th Cir. 2010); UnUedStates v. Richardson, 607 F.3d 357,3 /0-/1 (4tn uir.
 2010); United States v. Lewis, 605 F.3d 395,402 (6th Ch. 2010)).
        Case 1:19-mj-07169-JCB Document 8 Filed 06/14/19 Page 12 of 26

Exhibit A




        period. This behavior has been docnmented by law enforcement officers involved mthe
        investigation of child pornography throughout the world,
h.      Even if Joseph CORBETT uses aportable device (such as amobile phone) to access the
        Internet and child pornography, it is more likely than not that evidence ofthis access will
        be found in his home, the SUBJECT PREMISES, his vehicle, the SUBJECT VEHICLE,
        or on his person, as set forth in Attachment A, including on digital devices other than the
        portable device (for reasons includingthe frequency of"bacldngup" or "synching" mobile
         phones to computers or other digital devices).
21.      Based onthe foiegomg, Ibelieve that Joseph COEBETT is the user of
      he resides atthe SUBJECTPREMISES and drives the SUBJECT VEHICLE, andthathe likely
      displays the characteristics common to users ofchild pornography.
            SPECIFICS OF SEARCH AND SEIZURE OF COMPUTER SYSTEMS
 22. As deserihed above and in Attachment B, this application seeks permission to search for
     records that might be found on the SUBJECT PREMISES, in the SUBJECT VEHICLE, and
     on the person ofJoseph COEBETT, in whatever form they ate found. One form mwhich the
     records are Mkely to be found is data stored onacomputer-a hard drive or other storage media.
     Thus, the warrant applied for would authorize the seizure of electronic storage media or,
      potentially,the copying ofelectronically stored information, all under Rule 41(e)(2)(B).
  23.1 submit that ifacomputer or storage medium is found on the SUBJECT PREMISES, in the
       SUBJECT VEHICLE, or on the person of Joseph CORBETT, there is probable cause to
       believe those records referenced above will be stored on that computer or storage medium, for
       at least the following reasons;
       Case 1:19-mj-07169-JCB Document 8 Filed 06/14/19 Page 13 of 26

Exhibit A




      a.    Deleted files, or renmants ofdeleted files, may reside in fi:ee space or slack space-
            that is, in space on the storage medium that is not currently being used by an active
            file—for longperiods oftime before they are overwritten. In addition, acomputer's
            operating system may also keep arecord ofdeleted data in a swap or recovery
            file.


      b.    Based on my knowledge, training, and experience, Iknow that computer files or
            remnants ofsuch files can be recovered montiis or even years after they have been
            downloaded onto astorage medium, deleted, or viewed via the Intemet. Electronic
            files downloaded to a storage medium can be stored for years at little or no cost.
            Even when files have been deleted, they can be recovered months or years later
            using forensic tools. This is so because when a person "deletes" a file on a
            computer, the data contained inthe file does not actually disappear; rather, that data
            remains on the storage medium until it is overwritten by new data.
       c.   WhoUy apart from user-generated files, computer storage media—in particular,
            computers' iatemal hard drives—contaiu electronic evidence of how acomputer
            has been used, what it has been used for, and who has used it. To give a few
             examples, this forensic evidence can take the form of operating system
             configm-ations, artifacts fiom operating system or application operation, file system
             data structures, and virtual memory "swap" or paging files. Computer users
             typically do not erase or delete this evidence, because special software is typically
             required for that task. However, it is technically possible to delete this information.
       Case 1:19-mj-07169-JCB Document 8 Filed 06/14/19 Page 14 of 26
Exhibit A




       d.     Similarly, files that have been viewed via the Internet are sometimes automatically
              downloaded into atemporary Internet directory or "cache.

24. As further described in Attachment B, this application seeks permission to locate not only
   computer files that might serve as direct evidence ofthe crimes described on the warrant, but
   also for forensic electronic evidence that establishes how computers were used, the purpose of
   their use, who used them, and when. There is probable cause to believe that this forensic
   electronic evidence will be on any storage medium in the SUBJECT PREMISES, in the
    SUBJECT VEHICLE, or on the person ofJoseph CORBETT because:
       a.     Data on the storage medium can provide evidence of afile that was once on the
              storage medium but has since been deleted or edited, or of adeleted portion of a
               file (such as aparagraph thathas been deleted fi'om aword processing file). Virtual
               memorypaging systems canleavetraces ofinformation onthe storage medium that
               show what tasks and processes were recently active. Web browsers, email
               programs, and chat progi-ams store configm-ation information on the storage
               medium that can reveal information such as online nicknames and passwords.
               Operating systems can record additional information, such as the attachment of
               peripherals, the attachment ofUSB flash storage devices or other external storage
               media, and the times the computer was in use. Computer file systems can record
               information about the dates files were created and the sequence mwhich they were
               created, although this information can later be falsified,
        b.     Information stored within a computer and other electronic storage media may
               provide crucial evidence of the "who, what, why, when, where, and how" of the
       Case 1:19-mj-07169-JCB Document 8 Filed 06/14/19 Page 15 of 26

Exhibit A




            criiniiial conduct under investigation, thus enabling the United States to establish
            and prove each element or alternatively, to exclude the innocent horn further
            suspicion. Inmy training and experience, information stored within a computer or
            storage media {e.g., registry information, communications, images and movies,
            transactional information, records ofsession times and durations, Intemet history,

            and anti-virus, spyware, and malware detection programs) can indicate who has
            used or controlled the computer orstorage media. This "user attribution" evidence
            is analogous to the search for "indicia of occupancj'^' while executing a search
            warrant at a residence. The existence or absence of anti-virus, spyware, and

            malware detection programs may indicate whether the computer was remotely
            accessed, thus inculpating or exculpating the computer owner. Further, computer
            and storage media activity can indicate how and when the computer or storage
            media was accessed orused. For example, computers typically contain mformation

            that logs: computer user account session tunes and durations, computer activity
            associated with user accounts, electrojhc storage media that connected with the
            computer, and the IP addresses through which the computer accessed networks and
            the Intemet. Such information allows investigators tounderstand the chronological
            context ofcomputer or electronic storage media access, use, and events relating to
            the crime under investigation. Additionally, some information stored within a
            computer or electronic storage media may provide crucial evidence relating to the
            physical location ofother evidence and the suspect. For example, images stored on
            acomputer may both show aparticular location and have geolocation information
       Case 1:19-mj-07169-JCB Document 8 Filed 06/14/19 Page 16 of 26
Exhibit A




            incorporated into its file data. Sucli file data typically also contains information
            inrlir-.afiiig when the file orimage was created. The existence of such image files,

            along with external device connection logs, may also indicate the presence of
            additional electronic storage media (e.g., a digital camera orcellular phone withan

            incorporated camera). The geographic and timeline information described herein
            may either inculpate or exculpate the computer user. Last, information stored
            within a computer may provide relevant insight into the computer user's state of
            mind as it relates to the offense under investigation. For example, information

            within the computer may indicate the owner's motive and intent to commit acrime
            (e.g., Intemet searches indicating criminal planning), or consciousness of guilt
            (e.g., running a"wiping" program to destroy evidence on the computer or password
            protecting/encrypting such evidence in an effort to conceal it firom law
            enforcement).

            I know that when an individual uses a computer to obtain or access child

            pornography, the individual's computer will generally serve both as an
            instrumentality for committing the crime, and also as a storage medium for
            evidence ofthecrime. The computer is aninstrumentality ofthe crime because it

            is used as a means of committing the criminal offense. Thecomputer is also hlcely

            to bea storage medium for evidence ofcrime. From my traiodng and experience, I
            believe that a computer used to commit a crhne ofthis type may contain: data that
            is evidence ofhowthe computer was used; data thatwas sentorreceived; notes as
       Case 1:19-mj-07169-JCB Document 8 Filed 06/14/19 Page 17 of 26

Exhibit A




              to how the criminal conduct was achieved; records ofIntemet discussions about the
              crime; and other records that indicate the nature ofthe offense.
25. Based upon my training and experience and information relayed to me by agents and others
   involved inthe forensic examination ofcomputers, Iknowthat computer data canbe stored on
   avariety of systems and storage devices and online or offsite storage servers maintained by
   corporations, including but not limited to "cloud" storage. Ialso know that during the search
   ofthe premises it is not always possible to search computer equipment and storage devices for
        for a number of reasons, including the following:

       a.     Searching computer systems is a highly technical process that requires specific
              expertise and specialized equipment. There are so many types of computer
              hardware and software in use today that itis impossible to bring to the search site
              all ofthe technical manuals and specialized equipment necessary to conduct a
              thorough search. In addition, it may also be necessary to consult with computer
              personnel who have specific expertise in the type of computer, software, or
               operating system that isbeing searched;
       b.      Searching computer systems requires the use of precise, scientific procedures
               which are designed to maintain the integrity of the evidence and to recover
               "hidden," erased, compressed, encrypted, or password-protected data. Computer
               hardware and storage devices may contain "booby traps" that destroy or alter data
               if certain procedures are not scrupulously followed. Since computer data is
               particularly vulnerable to inadvertent or intentional modification or destruction, a
               controlled envkonment, such as a law enforcement laboratory, is essential to
       Case 1:19-mj-07169-JCB Document 8 Filed 06/14/19 Page 18 of 26
Exhibit A




              conducting a complete and accurate analysis ofthe equipment and storage devices
              from which the data will be extracted;

       c.     The volume of data stored on many computer systems and storage devices wiU

              t5q)ically be so large that it wiU be hi^y impractical to search for data during the
              execution ofthephysical search ofthe premises; and

       d.     Computer users can attempt toconceal data within computer equipment and storage
              devices through anumber ofmethods, including the use ofinnocuous ormisleading
              filenames and extensions. For example, files with the extension ".jpg" often are

              image files; however, auser can easily change the extension to ".txf' to conceal the
              image and make it appear that the file contains text. Computer users can also
              attempt to conceal data by using encryption, which means that a password or
              device, such as a "dongle" or "keycard," is necessary to decrypt the data into
              readable form. In addition, computer users can conceal data within another

              seemingly muelated and innocuous file in a process called "steganography." For
              example, by using steganography a computer user can conceal text inan image file
              which cannot be viewed when the image file is opened. Therefore, a substantial

              ammmt of time is necessary to extract and sort through data that is concealed or
              encrypted to determine whether it is contraband, evidence, firuits, or
              instrumentalities of a crime.

26. Based on the foregoing, and consistent with Rule 41(e)(2)(B), the warrant I am applying for
   would permit seizing, imaging, orotherwise copying storage media that reasonably appear to
   containsome or all ofthe evidence described in the warrant andwouldauthorize a laterreview
       Case 1:19-mj-07169-JCB Document 8 Filed 06/14/19 Page 19 of 26

Exhibit A




   of the media or information consistent with the warrant. The later review may require

   techniques, including but not limited to computer-assisted scans ofthe entire medium, that
   might e3q)ose many parts ofahard drive to human inspection inorder to determine whether it
   is evidence described by the warrant.

                                       CONCLUSION


27. Based onthe foregoiug, there is probable cause to believe that the federal criminal statutes
   cited herein have been violated, and that the contraband, property, evidence, fruits, and

   instrumentalities of these offenses, more fully described in Attachment B, are located at the

   locatiorrs described in Attachment A. I respectfully request that this Court issue a search

   warrant for thelocations described in Attachment A, authorizing the seizure and search of the

   items described iu Attachment B.




                                                           Gregora^quire^
                                                           Specifl Agent <
                                                           Homeland Security Investigatiotrs

       Sworn and subscribed before me this


       HdN'GRAlBLE JENNIFER C. BOAL
       UNITED STATES MAGISTRATE



        Ihave reviewed still images from the viden'd^^^^^^jjfe'^ragraph 12 above and Ifind
probable cause to believe that the images depict minors engaging insexually exphcit conduct.
The Affiant shall preserve the images provided tothe Comt, and the video from which the
images were captured, for the duration ofthe pendency ofthis matter, including any relevant
appeal process.


       HONORAEfLE JENNIFER C. BOAL
       UNiraD STATES MAGISTRATE JUD


                                                              II

                                                         Of
        Case 1:19-mj-07169-JCB Document 8 Filed 06/14/19 Page 20 of 26

Exhibit A




                                        ATTACHMENT A


                                LOCATION TO BE SEARCHED

       The premises located at 20 Adams Street, Danvers, Massachusetts, 2"^ Floor (the
SUBJECT PREMISES), which is described and pictured below, is located within atwo story
multi family residence with light brown vinyl siding. The number 20 appears on the right pillar
toward the top ofthe front staircase. There are two black mailboxes located on the pillars toward
the top ofthe ftont staircase. The mailbox for 2"'' Floor is located to the right ofthe top ofthe
fiont staircase and the name "CORBETT" and "2"'' Floor" is printed on the mailbox. There is a
staircase inside the front door on the right (facing the house fi'om the street).
       Case 1:19-mj-07169-JCB Document 8 Filed 06/14/19 Page 21 of 26

Exhibit A




                                ATTACHMENT A


                         LOCATION TO BE SEARCHED

   The SUBJECT VEHICLE is a White 2017 Chevy MaUhu with Massachusetts registration
   9RV218.




                                     -
       Case 1:19-mj-07169-JCB Document 8 Filed 06/14/19 Page 22 of 26
Exhibit A




                               ATTACHMENT A


                         PERSON TO BE SEARCHED

                  Joseph CORBETT, YOB 1968, is pictured below;
       Case 1:19-mj-07169-JCB Document 8 Filed 06/14/19 Page 23 of 26

Exhibit A




                                      ATTACHMENT B


                                   ITEMS TO BE SEIZED

1.    All records, in whatever form, and tangible objects that constitute evidence, fruits, or
      instrumentalities of 18 U.S.C. § 2252A, including:

      A.     Records and tangible objects pertaining to thefollowing topics:
             1.     Child pornography and child erotica; and

             2.     Communications with any other person that relates to the sexual

                    exploitation of children.

      B.     For any computer hardware, computer software, computer-related documentation,
             or storage          called for by this warrant orthat might contain things otherwise
             called for by this warrant, belonging to or used by Joseph CORBETT ("the
             computer equipmenf):

             1.      evidence of who used, owned, or controlled the computer equipment;

             2.      evidence ofcomputer software that would allow others tocontrol the items,
                     evidence of the lack of such malicious software, and evidence of the

                     presence or absence of security software designed to detect malicious
                     software;

             3.      evidence of the attachment of other computer hardware or storage media;

             4.      evidence ofcounter forensic programs and associated data thatare designed
                     to eliminate data;

             5.      evidence indicating how and when the computer was accessed or used to
                     determine the chronological context of computer access, use, and events
      Case 1:19-mj-07169-JCB Document 8 Filed 06/14/19 Page 24 of 26

Exhibit A




                  relating to the crime(s) under investigation andto the computer user;

            6.    passwords, encryption keys, and other access devices that may benecessary
                  to accessthe computer equipment;

            7.    records and tangible objects pertaining to accounts held with companies

                  providing Inteinet access or remote storage ofeither data or storage media;
                  and


            8.    evidence indicating the computer user's state of mind as it relates to the

                  crime under investigation;

            9.    passwords, encryption keys, and other access devices thatmay be
                  necessary to access the computer equipment;

            10.   documentationand manuals that may be necessary to access the computer

                  equipment orto conduct a forensic examination ofthe computer

                  equipment;

            11.   records of or information about Intemet Protocol addresses used by the

                  computer equipment;

            12.   records of or information about the computer equipment's Intemet

                  activity; and

            13.   contextual information necessary to understand the evidence described in

                  this attachment.

      C.    Records, information, and items relating to the ownership or use of computer

            equipment and other electronic storage devices found in oronthe LOCATION TO
            BE SEARCHED.
        Case 1:19-mj-07169-JCB Document 8 Filed 06/14/19 Page 25 of 26

Exhibit A




II.    All computer hardware, computer software, computer-related documentation, and storage

       media. Off-site searching of these items shall be limited to searching for the items

       described in Paragraph 1.

                                        DEFINITIONS

For the purpose of this warrant:

       A.      "Computer equipment" means any computer hardware, computer software,
               computer-related documentation, storage media, and data.

       B.      "Computerhardware" means any electronic device capable ofdata processing (such
               asa computer, smartphone, cellular telephone, orwireless commumcation device);
               any peripheral input/output device (such as a keyboard, printer, scanner, monitor,

               and drive intended for removable storage media); any related commumcation

               device (such as a router, wireless card, modem, cable, and any connections), and

               any security device, (such as electronic data security hardware and physical locks
               and keys).

       C.      "Computer software" means any program, program code, information ordata stored
               in any form (such as anoperating system, application, utility, communication and
               data security software; a log, history or backup file; an encryption code; a rrser

               name; ora password), whether stored deliberately, inadvertently, orautomatically.
       D.      "Computer related documentation" means any material thatexplains or illustrates
               the configuration or use of any seized computer hardware, software, or related
               items.


       E.      "Storage media" means any media capable of collecting, storing, retrieving, or

               transmitting data(suchas a harddrive, CD, DVD, or memory card).
        Case 1:19-mj-07169-JCB Document 8 Filed 06/14/19 Page 26 of 26

 Exhibit A




        F.      "Data" means all information stored on storage media of any form in any storage

                format and for any purpose.

        G.      "A record" is any communication, representation, ioformation or data. A "record"

                may be comprised of letters, numbers, pictures, sounds or symbols.

                      RETURN OF SEIZED COMPUTER EQUIPMENT
        Ifthe owner ofthe seized computer equipment requests that it be returned, the government

will attempt to do so, under the terms set forth below. If, after inspecting the seized computer

equipment, the government determines that some or all of this equipment does not contain

contraband and the original is no longer necessary to retrieve and preserve as evidence, fruits or

instrumentalities of a crime, the equipment will be returned within a reasonable time, if the party

seeking return will stipulate to a forensic copy's authenticity (but not necessarily relevancy or

admissibility) for evidentiary purposes.

       If the computer equipment contains contraband, it will not be returned. If the computer

equipment caimot be returned, agents will attempt to make available to the computer system's

owner, within a reasonable time period after the execution of the warrant, copies of files that do

not contain or constitute contraband or the fruits or instrumentalities of crime.
